Case 4:21-cv-01194 Document 1-2 Filed on 04/12/21 in TXSD Page 1 of 12




                   EXHIBIT B
 Case 4:21-cv-01194 Document 1-2 Filed on 04/12/21 in TXSD Page 2 of 12

                                                                                                   Service of Process
                                                                                                   Transmittal
                                                                                                   03/22/2021
                                                                                                   CT Log Number 539248281
TO:         Mark Jeansonne
            Intercontinental Terminals Company LLC
            2621 TIDAL RD
            DEER PARK, TX 77536-2432

RE:         Process Served in Texas

FOR:        Intercontinental Terminals Company LLC (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                 EVELYN MARSHALL, etc., Pltf. vs. INTERCONTINENTAL TERMINALS CORPORATION,
                                                 LLC, Dft.
DOCUMENT(S) SERVED:                              -
COURT/AGENCY:                                    None Specified
                                                 Case # 202115615
ON WHOM PROCESS WAS SERVED:                      C T Corporation System, Dallas, TX
DATE AND HOUR OF SERVICE:                        By Certified Mail on 03/22/2021 postmarked on 03/18/2021
JURISDICTION SERVED :                            Texas
APPEARANCE OR ANSWER DUE:                        None Specified
ATTORNEY(S) / SENDER(S):                         None Specified
ACTION ITEMS:                                    CT has retained the current log, Retain Date: 03/22/2021, Expected Purge Date:
                                                 03/27/2021

                                                 Image SOP

                                                 Email Notification, Mark Jeansonne mjeanson@iterm.com

                                                 Email Notification, Lindsay Knight lknight@iterm.com

                                                 Email Notification, Linda Primrose lprimrose@iterm.com

                                                 Email Notification, Robert Bell rbell@iterm.com

REGISTERED AGENT ADDRESS:                        C T Corporation System
                                                 1999 Bryan Street
                                                 Suite 900
                                                 Dallas, TX 75201
                                                 866-665-5799
                                                 SouthTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other




                                                                                                   Page 1 of 2 / SA
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                                                                                                    Service of Process
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advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




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                                                               Receipt Number: 891105
EML
                                                               Tracking Number; 73851479
COPY OF PLEADING PROVIDED BY PLT


                                     CAUSE NUMBER: 2021,15615


PLAINTIFF: MASHSALL, EVELYN                                        In the 269th Judicial

vs.                                                                District Court of

DEFENDANT:           INTERCONTINENTAL        TERMINALS             Harris County, Texas

CORPORATION LLC


                                            CITATION
THE STATE OF TEXAS
County of Harris

TO: INTERCONTINENTAL        TERMINALS CORPORATION   LLC BY SERVING ITS REGISTERED       AGENT   CT
CORPORATION SYSTEM
1999 BRYAN STREET SUITE 900
DALLAS TX 75201


   Attached is a copy of PLAINTIFF'S ORIGINAL PETITION.

T his instrument was filed on March 17, 2021, in the above numbered and styled cause
on the docket in the above Judicial District Court of Harris County, Texas, in the
courthouse in the city of Houston, Texas. The instrument attached describes the claim
against you.

   YOU HAVE BEEN SUED_   You may employ an attorney.  If you or your attorney do not
file a written answer with the QiStrict Clerk who issued this citation by 10:00 a.m,
on the Monday next following the expiration of twenty days after you were served this
citation and petition, a default judgment may be taken against you.    In addition to
filing a written answer with the clerk, you may be required to make initial
disclosures to the other parties of this suit.   These disclosures generally must be
made no later than 30 days after you file your answer with the clerk. Find out more
at TexasLawHelp.org.
   ISSUED AND GIVEN UNDER MY BAND and seal of said Court, at HouSten. Texas, this
March 18, 2021.



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Issued at request of:
Merrill, Roger L.
1770 ST.JAMES PL 410
HOUSTON, TX 77056
713-914-0830

Bar Number: 13963800
             Case 4:21-cv-01194 Document 1-2 Filed on 04/12/21 in TXSD Page 6 of 12




                                                                                   Tracking Number: 73851479



                                             CAUSE NUMBER: 202115615


PLAINTIFF: MASHSALL, EVELYN                                                      In the 269th

       vs.                                                                       Judicial District Court

DEFENDANT:             INTERCONTINENTAL           TERMINALS                      of Harris County, Texas

CORPORATION LLC




                                         OFFICER/AUTHORIZED PERSON RETURN

Came        to        hand      at           o'clock            .    M.,    on     the              day
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Executed         at    (address)
in                         County
at                          o'clock                     M.,         on     the                    day
                                                                      , 20
by delivering to                                                                                  defendant,
in person, a true copy of this
Citation    together    with   the    accompanying              copy(ies)          the
                                          Petition
attached thereto and I endorsed on said copy of the Citation the date of delivery.

To     certify          which        I   affix    my    hand    officially        this              day
                                                       , 20

FEE:    $


County, Texas

                                                          By:
                      Affiant                                                   Deputy

On this dal',                                                   , known to me to be
the person whose signature
appears on the foregoing return, personally appeared. After being by me duly sworn,
he/she stated that this Citation was executed by him/her in the exact manner recited
on the return,

SWORN            TO      AND         SUBSCRIBED       BEFORE        ME     on       this
                                                   , 20
      Case 4:21-cv-01194 Document 1-2 Filed on 04/12/21 in TXSD Page 7 of 12                          3/17/2021 10:48 PM
                                                                             Marilyn Burgess- District Clerk Harris County
                                                                                                 Envelope No. 51582715
                                                                                                    By: Wanda Chambers
                                                                                               Filed: 3/17/2021 10:48 PM

                                         No. 2021-15615

EVELYN MARSHALL,DEBRA                                              HARRIS COUNTY,TEXAS
PAYTON-MALONE,AND WILLIE
MALONE

VS.


INTERCONTINENTAL TERMINALS
CORPORATION,LLC                                          269th JUDICIAL DISTRICT COURT

                                   Plaintiffs' Original Petition

         Plaintiffs, Evelyn Marshall ("Marshall"), Debra Payton-Malone("Payton-Malone")and

Willie Malone("Malone")(collectively referred to as "Plaintiffs") file this petition complaining of

defendant Intercontinental Terminals Corporation, LLC ("ITC")and show:

                                                I.

1.       PTF intends to conduct discovery under Level a pursuant to Rule 190 of the Texas Rules

of Civil Procedure.



2.       Marshall is an individual residing at 6102 Belmark Streetin Houston, Harris County, Texas

77033.

3.       Payton-Malone is an individual residing at 1013 Shelton Lane in Channelview, Harris

County, Texas 77530.

4.       Malone is an individual residing at 1013 Shelton Lane in Channelview, Harris County,

Texas 77530.

5.       ITC is a Delaware company doing business in Harris County, Texas, and may be served

by serving its registered agent, CT Corporation System, 1999 Bryan Street, Suite 900, Dallas,

Texas 75201-3136.
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6.     On or about March 17, 2019, a fire started in the ITC property located in Deer Park, Harris

County, Texas. A tank containing naphta was ignited. The fire spread throughout the ITC

property engulfing at least eight tanks and sending plumes of black smoke over and into the

communities of southeast Texas. The smoke clouds contained toxic chemicals, ash, and fumes

and caused injuries and damages to Plaintiffs. The fire burned for three straight days before it

was extinguished on March 20, 2019. It reignited and was extinguished again. Another fire

began on March 21, 2019. Benzene and other toxic chemicals were being released into the air.

On March 22, 2019, another fire reignited. A shelter-in-place was issued for the area because of

the harmful chemicals being released. The multiple fires and release of chemicals into the air is

hereinafter referred to as "the Incident."

7.     ITC did not have reasonably adequate safety measures in place and did not properly

maintain its safety equipment.

                                               IV.

8.     The Incident made the basis of this suit and the resulting injuries were proximately caused

by the negligent conduct of ITCin one or more of the following respects:

       1)      failing to maintain a safe work place:

       2)      failing to have a reliable system or device at its plant to prevent the fire or
               adequately warn the community of the fire;

       3)      failing to perform work in a safe and prudent manner;

       4)      failing to exercise reasonable and prudent care in the operations which were
               occurring at the ITC plant on the dates at issue;

       5)      failing to implement,follow and enforce proper operations procedures;

       6)      failing to implement,follow and enforce proper safety procedures;
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 7)    failing to implement,follow and enforce proper hazardous analysis;

 8)    operating the plant with institutional ignorance of or defiance to a culture of safety
       and accountability;

 9)    failing to inspect and maintain the equipment associated with the refining storage
       process;

 10)   ignoring process safety hazard data related to past incidents at the ITC plant;

 11)   causing and permitting to be caused a release of numerous toxic chemicals which

       resulted in a continuous toxic cloud over parts of Harris County, Texas;

 12)   operating the plant without appropriate and trained staffing and supervision of the

       ITC plant units;

 13)   operating the ITC plant with equipment and processes that defy reasonable

       engineering and regulatory practices;

 14)   managerial acceptance or encouragement of normalized deviation from appropriate

       refining storage procedures;

 15)   failing to implement,follow, enforce and/or train regarding proper hazard analysis;

 16)   failing to maintain a reliable system and/or device at the ITC plant to prevent the

       fire;

 17)   undertaking a conscious effort to reduce costs and staffing at the expense of safety;

 18)   continuing to operate damaged and dysfunctional equipment at the expense of

       safety and wellbeing of the workers at the ITC plant and the surrounding Harris

       County community;

 19)   failing to adopt and comply with proper operating procedures;

 20)   improperly supervising and failing to supervise operation of the unit;

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        21)    ratifying and approving improper and dangerous operating procedures,routines and

               practices;

        22)    failing to make proper modifications and perform appropriate maintenance;

       23)     failing to budget maintenance and required modifications, improvements and

               updates to the equipment and facility;

       24)     failing to properly warn and notify the Plaintiffs regarding the release and emissions

               from prior and subsequent releasing events;

       25)     failing to have a proper air monitoring network in place that could wan the

               surrounding communities of harmful emissions being released during the fire;

       26)     failing to have proper fire suppression devices to contain fires at the ITC plant; and

       27)     such other acts and omissions which may be discovered through discovery and

               presented at trial.

Each of these acts and omissions, singularly or in combination with others, constituted negligence

which proximately caused the occurrence made the basis of this action and the Plaintiffs' injuries.

                                                 V.

9.     At all times material hereto, the employees and/or agents of ITC were acting within the

course and scope of their employment or agency for ITC and in furtherance of the duties of their

employment or agency.

                                                VI.

10.    ITC is also responsible for Plaintiffs' injuries under the following causes of action:

negligent training, nuisance, trespass, strict liability for ultrahazardous activity, and/or res ipsa

loquitur.

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                                                 VII.

11.     As a proximate result of the negligent conduct and the activity/omissions of ITC listed in

paragraph 14 above, Plaintiffs suffered bodily injuries. As a further result of their injuries,

Plaintiffs suffered the following damages:

               physical pain and severe mental anguish in the past;

                medical expenses in the past;

               lost earnings;

               physical impairment in the past;

               travel expense in connection with medical care; and

               inconvenience and loss of enjoyment of life.

For all these damages, Plaintiffs sues the ITC for a sum within the jurisdictional limits of this court

but not to exceed $40,000.00.

                                                VIII.

16.    Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, Plaintiffs hereby give notice

that all documents produced by the Defendant in response to written discovery authenticate the

document(s)for use against the Defendant in any proceeding before the Court.

                                                 IX.

9.     Accordingly, Plaintiffs pray that ITC be cited to appear and answer and that, on final trial,

Plaintiffs have:

       1,      judgment against the Defendant for only monetary relief of $40,000 or less,
               including damages of any kind, penalties, costs, expenses, prejudgment interest,
               and attorney fees;

       2.      post-judgment interest at the legal rate;

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 3.     such other and further relief to which Plaintiffs may be justly entitled.

 Plaintiffs demands a trial by jury.

                                                      Respectfully submitted,

                                                      Merrill & Associates
                                                                          *Th




                                                      Roger L. Merrill
                                                      SBN: 13963800
                                                      1770 Saint James Place
                                                      Sniie 41
                                                      Houston, Texas 77056
                                                      713/914-0830
                                                      713/588-8999 fax
                                                      r1m01@swbell.net

                                                      Attorneys for Plaintiffs




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